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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §             CRIMINAL NO.
VS.                                           §             3:15-CR-068-K (01)
                                              §
                                              §
DEWAYNE COTTEN,                               §
                                              §
            Defendant.                        §


                    ORDER ON MOTION FOR CONTINUANCE

      Before the Court is Defendant Cotten’s Unopposed Motion for Continuance of Trial

and Pretrial Deadlines, filed on September 17, 2015. The Court finds that the ends

justice served by granting the continuance outweigh the best interests of the public and

the defendant in a speedy trial, and that failure to grant such a continuance might result

in a miscarriage of justice. Specifically, the court finds that the granting of the motion

would promote judicial economy, and that neither the defendant nor the government

would be harmed by the granting of a continuance. The court finds that the provisions

of 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) are satisfied and accordingly, the motion is

GRANTED.

      It is therefore ordered that the trial of the case is reset from October 13, 2015 to

April 18, 2016 @ 9:00 a.m. The period of delay shall be excluded in computing the

time within which the trial must commence.

      Pretrial motions, if any, must be filed by March 2, 2016, and responses thereto, by

March 16, 2016.
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    Requested voir dire questions, proposed jury instructions, witness lists (with

witnesses designated as "custodial", "expert", or "fact", as well as "probable" or "possible"),

exhibit lists (with copies of exhibits furnished to the Court), and motions in limine must

be filed no later than April 4, 2016.

    SO ORDERED.

    Signed September 18th, 2015.




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                                                ED KINKEADE
                                                UNITED STATES DISTRICT JUDGE
